           Case 17-14249-BFK                         Doc 24           Filed 01/16/18 Entered 01/16/18 10:19:08                   Desc Main
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 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:             EASTERN DISTRICT OF VIRGINIA

 Case number (if known)         17-14249
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule             E/F
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 15, 2018                        X /s/ Steven Lebischak
                                                                       Signature of individual signing on behalf of debtor

                                                                       Steven Lebischak
                                                                       Printed name

                                                                       Chief Executive
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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           Case 17-14249-BFK                                     Doc 24              Filed 01/16/18 Entered 01/16/18 10:19:08                                                          Desc Main
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 Fill in this information to identify the case:

 Debtor name            Aero-X Golf, Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF VIRGINIA

 Case number (if known)               17-14249
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           844,268.44

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           844,268.44


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            10,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,722,678.56


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,732,678.56




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Aero-X Golf, Inc.

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF VIRGINIA

 Case number (if known)           17-14249
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,000.00
           Action Media Inc                                                     Contingent
           4665 Red Deer Trail                                                  Unliquidated
           Broomfield, CO 80020                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $528.00
           AFCO Insurance Premium Finance                                       Contingent
           5600 N. River Road Ste 400                                           Unliquidated
           Des Plaines, IL 60018-5187                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,269.00
           Antonelli, Terry, Stout                                              Contingent
           1300 North Seventeenth Street                                        Unliquidated
           Suite 1800                                                           Disputed
           Arlington, VA 22209
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $18,279.66
           Bellatrix PC                                                         Contingent
           5405 Morehouse Dr., Suite 110                                        Unliquidated
           San Diego, CA 92121
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 12
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 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Beverly Brito FBO Bud Misfelt                                         Contingent
          c/o Erwin J. Shustak, Esq.,                                           Unliquidated
          401 West “A” Street, Ste 2250
                                                                                Disputed
          San Diego, CA 92101
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
                                                                             includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,000.00
          Bruce Pettibone Consulting                                            Contingent
          2633 Ocean St #2                                                      Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $111,842.00
          Chris Holiday                                                         Contingent
          12624 Carmel Country Road, #82                                        Unliquidated
          San Diego, CA 92130
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Claim amount includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,700.00
          Commonwealth of Virginia                                              Contingent
          State Corp Comm                                                       Unliquidated
          PO Box 7607                                                           Disputed
          Merrifield, VA 22116-7607
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Cora Vaden                                                            Contingent
          22 West Washington St.                                                Unliquidated
          Carson City, NV 89703
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,282,348.97
          David Felker                                                          Contingent
          20844 Wild Willow Hollow                                              Unliquidated
          Escondido, CA 92029                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    judgment
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          deBary Partners                                                       Contingent
          1012 Brentwood Lane                                                   Unliquidated
          Brentwood, TN 37027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 12
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 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $76,342.00
          Doug Winfield                                                         Contingent
          1 Carriage Hill                                                       Unliquidated
          Madison, AL 35758                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Claim amount includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $419.25
          DW Sports Group                                                       Contingent
          310 South Nina Drive, Ste 1                                           Unliquidated
          Mesa, AZ 85210                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          EGJ, LLC                                                              Contingent
          c/o Erwin J. Shustak, Esq.                                            Unliquidated
          401 West “A” Street, Ste 2250
                                                                                Disputed
          San Diego, CA 92101
          Date(s) debt was incurred
                                                                                             8% new money subscription note - Claim amount
                                                                             Basis for the claim:
                                                                             includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $529.55
          Executive Financial Enterprise                                        Contingent
          1626 N Wilcox AVE, Box 680                                            Unliquidated
          Los Angeles, CA 90028
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,000,000.00
          Foremost Golf Manufacturing                                           Contingent
          No. 5 Kegong 8th Rd                                                   Unliquidated
          Touliu City, Yunlin County 640                                        Disputed
          Taiwan (R.O.C)
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          Franchise Tax Board                                                   Contingent
          PO Box 942857                                                         Unliquidated
          Sacramento, CA 94257-0531                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          Gertrude Bronner                                                      Contingent
          12624 Carmel Country Road, #82                                        Unliquidated
          San Diego, CA 92130
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             8% new money subscription note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 12
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 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $597.00
          Golf Talk Radio                                                       Contingent
          900 Salida Del Sol Drive                                              Unliquidated
          Paso Robles, CA 93446                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,027.28
          Golfer's First Technologies                                           Contingent
          3444 Silverlake Ct.                                                   Unliquidated
          Jamestown, NC 27282                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Grace McLain Capital Advisors                                         Contingent
          952 Golf House Rd, W. Suite I                                         Unliquidated
          PMB 127
                                                                                Disputed
          Whitsett, NC 27377
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
                                                                             includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,000.00
          Grace McLain Capital Advisors                                         Contingent
          952 Golf House Rd, W. Suite I                                         Unliquidated
          PMB 127
                                                                                Disputed
          Whitsett, NC 27377
          Date(s) debt was incurred
                                                                             Basis for the claim:    Note - Claim amount includes principal only
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,757.54
          Grace McLain Capital Advisors                                         Contingent
          952 Golf House Rd, W. Suite I                                         Unliquidated
          PMB 127
                                                                                Disputed
          Whitsett, NC 27377
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accrued interest note - Claim amount includes
                                                                             principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Gravity Capital                                                       Contingent
          Humberto Galleno                                                      Unliquidated
          186 Collins Street                                                    Disputed
          San Francisco, CA 94118
                                                                             Basis for the claim:    6% secured note - Claim amount includes principal
          Date(s) debt was incurred
                                                                             only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,785.20
          Hammacher Schlemmer INC                                               Contingent
          9307 N Milwaukee Ave                                                  Unliquidated
          Saint Charles, IL 60174                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 12
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 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,031.78
          Hye Precision Products                                                Contingent
          745 Carroll Street                                                    Unliquidated
          Perry, GA 31069                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,329.00
          IP Data                                                               Contingent
          704 W Park Ave Suite C                                                Unliquidated
          Edgewater, FL 32132-1409                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,719.55
          Jason Davies                                                          Contingent
          c/o RBC Private Wealth Mgmt                                           Unliquidated
          500 La Terraza Blvd #102                                              Disputed
          Escondido, CA 92025
                                                                             Basis for the claim:    Note-short term - Claim amount includes principal
          Date(s) debt was incurred
                                                                             only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,750.00
          Jeff Guzy                                                             Contingent
          3130 19th Street                                                      Unliquidated
          Arlington, VA 22201
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $50,000.00
          Jennifer Vaugh, Betsy R. 002                                          Contingent
          c/o Erwin J. Shustak, Esq.                                            Unliquidated
          401 West “A” Street, Suite 225                                        Disputed
          San Diego, CA 92101
                                                                             Basis for the claim:    Note-short term - Claim amount includes principal
          Date(s) debt was incurred
                                                                             only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          John Chu                                                              Contingent
          3444 Silverlake Ct.                                                   Unliquidated
          Jamestown, NC 27282
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $100,000.00
          John Crawford                                                         Contingent
          212 Arrowhead Way                                                     Unliquidated
          Clinton, NY 13323                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Note-short term - Claim amount includes principal
          Last 4 digits of account number                                    only
                                                                             Is the claim subject to offset?     No       Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 12
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 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $150,000.00
          John McGinnis                                                         Contingent
          4333 E. Hashknife Rd.                                                 Unliquidated
          Phoenix, AZ 85050                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    6% secured note - Claim amount includes principal
          Last 4 digits of account number                                    only
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $275,000.00
          John McGinnis                                                         Contingent
          4333 E. Hashknife Rd.                                                 Unliquidated
          Phoenix, AZ 85050
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,208.34
          Just Add Technology Solutions                                         Contingent
          PO Box 2092                                                           Unliquidated
          Merrifield, VA 22116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          Karen Weseloh                                                         Contingent
          6250 Mimulus                                                          Unliquidated
          Rancho Santa Fe, CA 92067                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    5% 3 year note - Claim amount includes principal
          Last 4 digits of account number                                    only
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Karen Weseloh                                                         Contingent
          6250 Mimulus                                                          Unliquidated
          Rancho Santa Fe, CA 92067
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    8% new money subscription - Claim amount includes
          Last 4 digits of account number                                    principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $370,000.00
          Karen Weseloh                                                         Contingent
          6250 Mimulus                                                          Unliquidated
          Rancho Santa Fe, CA 92067
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,000.00
          Karen Weseloh                                                         Contingent
          6250 Mimulus                                                          Unliquidated
          Rancho Santa Fe, CA 92067                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Note-short term - Claim amount includes principal
          Last 4 digits of account number                                    only
                                                                             Is the claim subject to offset?     No       Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 12
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 Debtor       Aero-X Golf, Inc.                                                                       Case number (if known)            17-14249
              Name


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $455.75
          Liberty Mutual Insurance                                              Contingent
          P. O. Box 85834                                                       Unliquidated
          San Diego, CA 92186-5834                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          Life After 50                                                         Contingent
          50 S. De Lacey Ave. Suite 200                                         Unliquidated
          Pasadena, CA 91105-3806                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Madavor Media LLC                                                     Contingent
          25 Braintree Hill Office Park                                         Unliquidated
          Suite 404                                                             Disputed
          Braintree, MA 02184
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,762.77
          McCarthy, Burgess, Wolff                                              Contingent
          26000 Cannon Road                                                     Unliquidated
          Bedford, OH 44146                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $665.02
          Minuteman Press of Carlsbad                                           Contingent
          6353 El Camino Real #H                                                Unliquidated
          Carlsbad, CA 92009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,345.00
          Miranda & Associates                                                  Contingent
          1595 South Mission Road                                               Unliquidated
          Fallbrook, CA 92028                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $101,162.50
          Miranda CFO Services, Inc.                                            Contingent
          1595 South Mission Rd                                                 Unliquidated
          Fallbrook, CA 92028
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,061.62
          MLG Automotive Law                                                    Contingent
          2801 W. Coast Hiighway                                                Unliquidated
          Suite 370
                                                                                Disputed
          Newport Beach, CA 92663
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $822.95
          Montana Department of Revenue                                         Contingent
          PO Box 6309                                                           Unliquidated
          Helena, MT 59604-6309
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $250,000.00
          Mr. Cole Burr                                                         Contingent
          Burrtec                                                               Unliquidated
          9820 Cherry Avenue
                                                                                Disputed
          Fontana, CA 92335
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
                                                                             includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $528.00
          New Jersey Commercial                                                 Contingent
          Collection (AFCO)                                                     Unliquidated
          PO Box 2212                                                           Disputed
          Cherry Hill, NJ 08034
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $96,043.52
          Novus Media Inc.                                                      Contingent
          PO Box 86                                                             Unliquidated
          Minneapolis, MN 55486-0664                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,173.75
          Pijush Dewanjee                                                       Contingent
          3746 Saddle Dr.                                                       Unliquidated
          Carlsbad, CA 92010
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,179.36
          POP TV LLC                                                            Contingent
          5069 Maureen Lane, Unit A                                             Unliquidated
          Moorpark, CA 93021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $285,697.18
          Procopio Law                                                          Contingent
          525 B St Ste 2200                                                     Unliquidated
          San Diego, CA 92101
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,804.00
          Procopio Law                                                          Contingent
          525 B St Ste 2200                                                     Unliquidated
          San Diego, CA 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Note - Claim amount includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $400,000.00
          Procopio, Cory, Hargreaves                                            Contingent
          & Savitch LLP                                                         Unliquidated
          12544 High Bluff Drive, #300                                          Disputed
          San Diego, CA 92130
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,000.00
          QSControl Corp                                                        Contingent
          No.39, Jing 3 Rd, C.E.P.Z                                             Unliquidated
          Wuchi, 04                                                             Disputed
          Taichung City, Taiwan 435
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $90,000.00
          RBC FBO D L Felker                                                    Contingent
          500 La Terraza Blvd., Ste. 150                                        Unliquidated
          Escondido, CA 92025
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $758.33
          RBC Capital Markets                                                   Contingent
          FBO David Felker                                                      Unliquidated
          500 La Terraza Blvd, #102                                             Disputed
          Escondido, CA 92025
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,000.00
          Riley L Criss Family Trust                                            Contingent
          c/o Erwin J. Shustak, Esq.                                            Unliquidated
          401 West “A” Street, Ste 2250
                                                                                Disputed
          San Diego, CA 92101
          Date(s) debt was incurred
                                                                                             12% mandatory convertible note - Claim amount
                                                                             Basis for the claim:
                                                                             includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,719.55
          Riley L Criss Family Trust                                            Contingent
          c/o Erwin J. Shustak, Esq.                                            Unliquidated
          401 West “A” Street, Ste 2250                                         Disputed
          San Diego, CA 92101
                                                                             Basis for the claim:    Note-short term - Claim amount includes principal
          Date(s) debt was incurred
                                                                             only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,000.00
          Robert W Morris TTEE                                                  Contingent
          c/o Erwin J. Shustak, Esq.                                            Unliquidated
          401 West “A” Street, Ste 2250
                                                                                Disputed
          San Diego, CA 92101
          Date(s) debt was incurred
                                                                                             8% new money subscription note - Claim amount
                                                                             Basis for the claim:
                                                                             includes principal only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $250.00
          State of California                                                   Contingent
          Franschise Tax Board                                                  Unliquidated
          PO Box 942857
                                                                                Disputed
          Sacramento, CA 94257-0511
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,519.11
          Steven Lebischak                                                      Contingent
          PO Box 2092                                                           Unliquidated
          Merrifield, VA 22116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $64,235.00
          Steven Lebischak                                                      Contingent
          PO Box 2092                                                           Unliquidated
          Merrifield, VA 22116
                                                                                Disputed
          Date(s) debt was incurred
                                                                                             12% manadatory convertible note - Claim amount
                                                                             Basis for the claim:
          Last 4 digits of account number                                    includes principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $900.00
          Steven Lebischak                                                      Contingent
          PO Box 2092                                                           Unliquidated
          Merrifield, VA 22116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    2014 back interest note - Claim amount includes
          Last 4 digits of account number                                    principal only
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,610.00
          Steven Lebischak                                                      Contingent
          PO Box 2092                                                           Unliquidated
          Merrifield, VA 22116                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    2014 back pay note - Claim amount includes principal
          Last 4 digits of account number                                    only
                                                                             Is the claim subject to offset?     No       Yes



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 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $3,083.35
           The Golf Shop - James Love                                           Contingent
           2768 Loker Avenue                                                    Unliquidated
           Suite 100                                                            Disputed
           Carlsbad, CA 92010
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $6,625.00
           The McLean Group                                                     Contingent
           7918 Jones Branch Dr #750                                            Unliquidated
           Mc Lean, VA 22102                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $7,500.00
           The Media Group                                                      Contingent
           848 West Bartlett Road, #10E                                         Unliquidated
           Bartlett, IL 60103                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,624.73
           Travelers Insurance                                                  Contingent
           PO Box 660317                                                        Unliquidated
           Dallas, TX 75266-0317                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $425.00
           Turnstile Media Group                                                Contingent
           PO Box 951276                                                        Unliquidated
           Dallas, TX 75395-1323                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $766.95
           Word's Court Reporting Service                                       Contingent
           Gidgette Nieves, CSR, Principa                                       Unliquidated
           1265 Carlsbad Village Dr. #210                                       Disputed
           Carlsbad, CA 92008
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.74      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $396.00
           Yellow Pages United                                                  Contingent
           PO Box 50038                                                         Unliquidated
           Jacksonville Beach, FL 32240-0038
                                                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


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   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                 related creditor (if any) listed?               account number, if
                                                                                                                                                 any
 4.1       James P. Koch, Esq.
           Law Offices of James P. Koch                                                          Line     3.10
           1101 St. Paul Street
                                                                                                        Not listed. Explain
           Baltimore, MD 21202


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +     $                  5,722,678.56

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    5,722,678.56




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